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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

R&R SULEIMAN, LLC,                                   §
                                                     §
         Plaintiff,                                  §
vs.                                                  §     CIVIL ACTION NO. 3:16-cv-3443
                                                     §
MID-CONTINENT CASUALTY                               §
COMPANY,                                             §
                                                     §
         Defendant.                                  §


DEFENDANT MID-CONTINENT CASUALTY COMPANY’S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

         Comes now Defendant, MID-CONTINENT CASUALTY COMPANY (“Defendant”),

and files this, its Notice of Removal, and would show the Court the following:

                                              I.
                                        INTRODUCTION

         1.      Plaintiff is R&R SULEIMAN, LLC (“Plaintiff”). Defendant is MID-

CONTINENT CASUALTY COMPANY.

         2.      On November 7, 2016, Plaintiff sued Defendant in the B-44th Judicial District,

Dallas County, Texas, in Cause No. DC-16-14430 styled R&R Suleiman, LLC vs. Mid-Continent

Casualty Company, which case is still pending in said court.

         3.      Defendant was served with such suit by on November 29, 2016. Defendant files

this Notice of Removal within the 30-day time period required by 28 U.S.C. §1446(b).

                                            II.
                                    BASIS FOR REMOVAL

         4.      Removal is proper because there is complete diversity between the parties. See 28

U.S.C. §1332(a). Plaintiff is a domestic for-profit corporation organized under the laws of the

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State of Texas. Defendant is a foreign corporation organized and existing under the laws of the

State of Ohio with its principal place of business in Tulsa, Oklahoma.

         5.     The amount in controversy exceeds $75,000 exclusive of interest and costs.

Plaintiff provided information to Defendant during the course of the insurance claim upon which

Plaintiff sues indicating that Plaintiff’s claims exceed the minimum requirements to establish

diversity jurisdiction pursuant to 28 U.S.C. §1332(b).

         6.     Venue is proper in this district under 28 U.S.C. §1441(a) because the cause of

action occurred in whole or in part in this district.

         7.     Defendant will promptly file a copy of this notice of removal with the clerk of the

state court where the action has been pending.

         8.     All pleadings, process, orders, and other filings in the state court action will be

attached to this notice as required by 28 U.S.C. §1446(a) as follows:

         (a)    Docket sheet printed December 16, 2016;

         (b)    Plaintiff’s Original Petition filed November 7, 2016;

         (c)    Case Filing Cover Sheet filed November 7, 2016;

         (d)    Citation issued November 8, 2016; and

         (e)    Defendant Mid-Continent Casualty Company’s Original Answer filed December
                16, 2016.

         If any further pleadings have been filed with the court, we will supplement this removal.

                                                III.
                                              PRAYER

         WHEREFORE, Defendant MID-CONTINENT CASUALTY COMPANY asks the

Court to remove the action referred to as R&R Suleiman, LLC vs. Mid-Continent Casualty

Company, in the B-44th Judicial District, Dallas County, Texas, to this federal court.


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                                            Respectfully submitted,

                                            By: /s/ R. Brent Cooper
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                                            ATTORNEYS FOR DEFENDANT
                                            MID-CONTINENT CASUALTY COMPANY



                                CERTIFICATE OF SERVICE

         A true and correct copy of the above and foregoing document was served on counsel for

all parties listed below pursuant to the Federal Rules of Civil Procedure on the 19th day of

December, 2016.

         Joyce W. Lindauer
         Joyce W. Lindauer Attorney, PLLC
         12720 Hillcrest Road, Suite 625
         Dallas, Texas 75230

         ATTORNEY FOR PLAINTIFF



                                               /s/ R. Brent Cooper
                                               R. Brent Cooper




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